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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIGINIA
                                  ROANOKE DIVISION

ALAN JAX WAGONER,                                       )
                                                        )
                Plaintiff,                              )       Civil Action No. 7:20cv00410
                                                        )
v.                                                      )       MEMORANDUM OPINION
                                                        )
HENRY COUNTY JAIL,                                      )       By: Hon. Thomas T. Cullen
                                                        )           United States District Judge
                Defendant.                              )


        Plaintiff, proceeding pro se, filed a civil rights complaint, pursuant to 42 U.S.C. §1983. By order

entered July 16, 2020, the court directed plaintiff to submit within 20 days from the date of the order a

certified copy of plaintiff’s trust fund account statement for the six-month period immediately preceding

the filing of the complaint, obtained from the appropriate prison official of each prison at which plaintiff

is or was confined during that six-month period. Plaintiff was advised that a failure to comply would

result in dismissal of this action without prejudice.

        More than 20 days have elapsed, and plaintiff has failed to comply with the described

conditions. Accordingly, the court will dismiss the action without prejudice and strike the case from

the active docket of the court. Plaintiff may refile the claims in a separate action once plaintiff is

prepared to comply with the noted conditions.

        The Clerk is directed to send a copy of this Memorandum Opinion and accompanying

Order to plaintiff.

         ENTERED this 22ndday of September 2020.



                                                  Hon. Thomas T. Cullen
                                                  United States District Judge
